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                   UNITED STATES DISTRICT CO
               SOUTHERN DISTRICT OF GEO1GIA
                       STATE SBORO DIVISION



ANTONIO MARQUETTE MANGRAM,)
                                  )



     Petitioner,
V.                                      Case No. CV61
                                   )             CR61    E]
UNITED STATES OF AMERICA, )
                                   )



     Respondent.


                                 ORDER

     Antonio Mangrani moves the Court to reconsid             its denial of his

request to amend his 28 U.S.C. § 2255 motion and               an evidentiary

hearing. Does. 8 (letter/motion to amend and for          aring); 11 (order

denying motion); 12 & 14 (motions to reconsider).             argues that the

Court misread his motion to allege that (now              Assistant United

States Attorney (AUSA) Cameron Ippolito's romantic        volvement with a

federal agent infected his trial. Doc. 14 at 3.           )ugh the motion

clearly alleges that Ippolito acted inappropriately,      i a closer reading

the Court acknowledges that Mangram did not               ial1y attempt to
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connect to his case a well-publicized affair                her and an ATF

agent.

     Instead -- and as the government acknow                in its response to

Mangram's letter/motion, doe. 8 -- Mangram                   AUSA Ippolito's

misconduct with the ATF agent to insinuate that she may have engaged

in prosecutorial, not sexual, misconduct with the DEAL agents involved in

his case.     See doe. 8 at 2. He also alleged that I          to allowed an

improper sentencing enhancement "to be utilized" by           Court.

     The government, meanwhile, does not oppose                to amend. So,

the Court GRANTS IN PART Mangram's motion                     reconsideration.

Does. 12, 14. Within 14 days of the date this               is served, he may

amend his § 2255 motion to add two claims: that LUSA Ippolito (1)

committed "improper conduct. . . with regard to.                  undertaken

in connection with other agencies (DEA for                    pie)"; and (2)

"knowingly allowed an improper enhancement to                 utilized by the

Probation Office and District Court." Doc. 14 at 3.           Court, however,

DENIES Mangram's request for an evidentiary                      Nothing he's

alleged remotely suggests one is necessary at this                See Rosin v.




                                        2
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United States, 786 F. 3d 873, 877 (11th Cir. 2015)' (standards for an

evidentiary hearing).

     SO ORDERED, this day of July, 2015,

                                  UNITED            tATE JUDGE
                                  SOUTIII DISTRICT GEORGIA




                                     3
